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          1 M. Jonathan Hayes (Bar No. 90388)
            Matthew D. Resnik (Bar No. 182562)
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          5
            Attorneys for Debtor
          6 1465V Donhill Drive, LLC

          7
          8
          9                           UNITED STATES BANKRUPTCY COURT
         10                            CENTRAL DISTRICT OF CALIFORNIA
         11                             SAN FERNANDO VALLEY DIVISION
         12
               In re                                      )   Case No. 1:20-bk-11138-VK
         13                                               )
                       1465V Donhill Drive, LLC,          )   Chapter 11
         14                                               )
                                                          )   SUMMARY OF ASSETS AND
         15                                      Debtors. )   LIABILITIES; SCHEDULES A/B, D, E/
                                                          )   F, G, H; DECLARATION RE NON-
         16                                               )   INDIVUDUAL DEBTORS
                                                          )   SCHEDULES; STATEMENT OF
         17                                               )   FINANCIAL AFFAIRS; AMENDED
                                                          )   CREDITOR MATRIX
         18                                               )
                                                          )
         19                                               )

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RESNIK HAYES
 MORADI LLP
             Case 1:20-bk-11138-VK                               Doc 10 Filed 07/13/20 Entered 07/13/20 17:15:18                                  Desc
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       in   this information to identify the case:
    Debtor   name        1465V Donhill Drive, LLC

    United States Bankruptcy Court for       the:         CENTRAL DISTRICT OF CALIFORNIA

 Case number       (]f   known) 1:20-bk-'1    '1   '1
                                                        38-VK
                                                                                                                                        E   Check if this is an
                                                                                                                                            amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-!ndividual Debtors                                                                                                   12115


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious                    crime. Making     a   false statement, concealing property, or obtaining money or property by fraud in
connectionwithabankruptcycasecanresultinfinesupto$500,000orimprisonmentforupto20years,orboth.                                           18U.S.C.SS152, 1341,
1519, and 3571.



                  Dectaration and signature
I
         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the padnership; or another
         individual serving as a representativc of the debtor in this casc.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

            I      Schedule A,/B: Assets-Real and Personal Propeiy (Official Form 206fuB)

            I      Schedule D: Creditors Who Have Claims Secured by Property (Offrcial Form 206D)

            I      Schedule E/F: Creditors Who Have Unsecured C/arms (Official Form 206ElF)

            I      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

            I      Schedule H: Codebtors (Official Form 206H)

            I      Summary of Assets and Liabilitiesfor Non-lndividuals (Official Form 206Sum)

            I      Amended      Schedule Amended Creditor Matrix
            n      Chapter 11 or Chapter 9 Cases; Llsf of Creditors Who Have the 20 Largest Unsecured Claims and Are Nol /nsiders (Official Form 204)
            tr     Other document that requires a declaration

         I declare under penalty of perjury that the            foregoing is true and

            Executed     on   July 13,2020
                                                                                              [al   signing on behalf of debtor

                                                                          Chandu Vanjani
                                                                          Printed name

                                                                          Managing Member
                                                                          Position or relationship to debtor




ffficial Form    202                                              Declaration Under Penalty of Perjury for Non-lndividual Debtors
Softwa.e Copyright (c) 1996-2020 Best Case, LLC - \^/W.bestcase.com                                                                                  Best Case Bankruptcy
              Case 1:20-bk-11138-VK                                        Doc 10 Filed 07/13/20 Entered 07/13/20 17:15:18                                                                     Desc
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 Fill in this information to identify the case:

 Debtor name            1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               1:20-bk-11138-VK
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       12,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            25,013.28

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       12,025,013.28


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,630,850.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           187,880.11


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,818,730.11




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         1:20-bk-11138-VK
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Citibank                                                Checking                        8415                                         $13.28



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $13.28
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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            Case 1:20-bk-11138-VK                             Doc 10 Filed 07/13/20 Entered 07/13/20 17:15:18                        Desc
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 Debtor         1465V Donhill Drive, LLC                                                      Case number (If known) 1:20-bk-11138-VK
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     1465 Donhill Drive,
                     Beverly Hills, CA                    Fee Simple              $12,000,000.00      Appraisal                     $12,000,000.00




 56.       Total of Part 9.                                                                                                       $12,000,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         1465V Donhill Drive, LLC                                                     Case number (If known) 1:20-bk-11138-VK
                Name


               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Furniture- The real property is furnished.                                                                                  $25,000.00


            Plans and permits obtained and approved to develop the
            property.                                                                                                                     Unknown



            Potential lawsuit against the buyer, Andre Wegener;                                                                           Unknown



            Potential lawsuit against the lender, 5 Arch Funding, Corp.                                                                   Unknown




 78.        Total of Part 11.                                                                                                          $25,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor          1465V Donhill Drive, LLC                                                                            Case number (If known) 1:20-bk-11138-VK
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $13.28

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $12,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $25,000.00

 91. Total. Add lines 80 through 90 for each column                                                              $25,013.28          + 91b.           $12,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,025,013.28




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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            Case 1:20-bk-11138-VK                             Doc 10 Filed 07/13/20 Entered 07/13/20 17:15:18                                         Desc
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 Fill in this information to identify the case:

 Debtor name         1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)             1:20-bk-11138-VK
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   5 Arch Funding, Corp.                          Describe debtor's property that is subject to a lien               $5,576,850.00           $12,000,000.00
       Creditor's Name                                1465 Donhill Drive, Beverly Hills, CA
       19800 MacArthur Blvd., Suite
       1150
       Irvine, CA 92612
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/8/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9952
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. 5 Arch Funding, Corp.
       2. Los Angeles County Tax
       Collector

 2.2   FCI Lender Services                            Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Creditor's Name                                Duplicate for 5 Arch Funding, Corp.
       P O Box 27370
       Anaheim, CA 92809
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6531


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       1465V Donhill Drive, LLC                                                                Case number (if known)       1:20-bk-11138-VK
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Los Angeles County Tax
 2.3                                                                                                                            $54,000.00     $12,000,000.00
        Collector                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               1465 Donhill Drive, Beverly Hills, CA
        PO Box 54110
        Los Angeles, CA 90054-0110
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $5,630,850.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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             Case 1:20-bk-11138-VK                            Doc 10 Filed 07/13/20 Entered 07/13/20 17:15:18                                             Desc
                                                              Main Document    Page 10 of 25
 Fill in this information to identify the case:

 Debtor name         1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           1:20-bk-11138-VK
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Franchise Tax Board                                       Check all that apply.
           Attn: Bankruptcy Unit                                        Contingent
           P.O. Box 2952                                                Unliquidated
           Sacramento, CA 95812-2952                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 3
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 Debtor       1465V Donhill Drive, LLC                                                                Case number (if known)            1:20-bk-11138-VK
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $750.00
          Albert Fuentes                                                        Contingent
          7760 Clearfield Ave.                                                  Unliquidated
          Panorama City, CA 91402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gardener
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Chandu Vanjani                                                        Contingent
          9430 Luline Avenue                                                    Unliquidated
          Chatsworth, CA 91311                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money loaned
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,841.00
          Crest Real Estate                                                     Contingent
          11150 Olympic Bvd.                                                    Unliquidated
          Los Angeles, CA 90064                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered- split the lot
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,424.88
          David Schwartz                                                        Contingent
          1255 Club View Driv                                                   Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Paid for expenses associated with the project
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          LA DWP                                                                Contingent
          P.O. Box 308008                                                       Unliquidated
          Los Angeles, CA 90030-0808                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,330.00
          LC Engineering Group Inc.                                             Contingent
          889 Pierce Court #101                                                 Unliquidated
          Thousand Oaks, CA 91360                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Lee Ziff                                                              Contingent
          Keller Williams Realty                                                Unliquidated
          439 N Canon Drive #300
                                                                                Disputed
          Beverly Hills, CA 90210
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 3
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 Debtor       1465V Donhill Drive, LLC                                                                Case number (if known)            1:20-bk-11138-VK
              Name

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $143,621.23
           Pacific Precision Laboratories Inc.                                  Contingent
           9430 Lurline Ave.                                                    Unliquidated
           Chatsworth, CA 91311                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Money loaned to pay for expenses
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $200.00
           So Cal Gas                                                           Contingent
           PO Box 653                                                           Unliquidated
           Monterey Park, CA 91754-0653                                         Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,186.00
           South Bay Acceptance Corp                                            Contingent
           P.O. Box 639299                                                      Unliquidated
           Cincinnati, OH 45263-9299                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered- financed the monthly payments for
           Last 4 digits of account number                                   the insurance
                                                                             Is the claim subject to offset?       No     Yes

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $200.00
           Spectrum                                                             Contingent
           PO Box 60074                                                         Unliquidated
           City of Industry, CA 91716                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Internet service
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $21,327.00
           VEA Architects                                                       Contingent
           16987 Encino Hills Drive                                             Unliquidated
           Encino, CA 91436                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       187,880.11

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          187,880.11




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         1:20-bk-11138-VK
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Lisiting agreement to sell
             lease is for and the nature of               the property
             the debtor's interest

                  State the term remaining                                             Lee Ziff
                                                                                       Keller Williams Realty
             List the contract number of any                                           439 N Canon Drive #300
                   government contract                                                 Beverly Hills, CA 90210




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         1:20-bk-11138-VK
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      David Schwartz                    1255 Club View Driv                               5 Arch Funding                     D
                                               Los Angeles, CA 90024                                                                E/F
                                                                                                                                    G




    2.2      Pacific Precision                 9430 Lurline Ave.                                 5 Arch Funding                     D
             Laboratories Inc.                 Chatsworth, CA 91311                                                                 E/F
                                                                                                                                    G




    2.3      Vikas Vanjani                     9430 Lurline Avenue                               5 Arch Funding                     D
                                               Chatsworth, CA 91311                                                                 E/F
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         1465V Donhill Drive, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         1:20-bk-11138-VK
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2020 to Filing Date
                                                                                                   Other    N/A


       For prior year:                                                                             Operating a business                                 $30,276.75
       From 1/01/2019 to 12/31/2019
                                                                                                   Other    Gross rent


       For year before that:                                                                       Operating a business                                  $8,163.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    Gross rent

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       1465V Donhill Drive, LLC                                                                  Case number (if known) 1:20-bk-11138-VK



    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Pacific Precision Laboratories Inc.                          07/29/2019                        $5,000.00          repayment of the loan
               9430 Lurline Ave.
               Chatsworth, CA 91311
               Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None


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 Debtor        1465V Donhill Drive, LLC                                                                     Case number (if known) 1:20-bk-11138-VK



       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred            Dates            Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Resnik Hayes Moradi, LLP
                 17609 Ventura Boulevard, Suite
                 314
                 Encino, CA 91316                                                                                               06/29/2020               $11,717.00

                 Email or website address
                 hayes@rhmfirm.com

                 Who made the payment, if not debtor?
                 Chandu Vanjani



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value
       13.1 Still investigating
       .                                                         n/a                                                      n/a                                    $0.00

                Relationship to debtor
                n/a


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply


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 Debtor        1465V Donhill Drive, LLC                                                                 Case number (if known) 1:20-bk-11138-VK



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     9430 Lurline Avenue                                                                                       11/17/2017 to present
                 Chatsworth, CA 91311

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents              Do you still
                                                                     access to it                                                                  have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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 Debtor      1465V Donhill Drive, LLC                                                                   Case number (if known) 1:20-bk-11138-VK




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
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 Debtor      1465V Donhill Drive, LLC                                                                   Case number (if known) 1:20-bk-11138-VK



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Julia Wu
                    9430 Lurline Avenue
                    Chatsworth, CA 91311
       26a.2.       DAVID NEIYER                                                                                                         October 18, 2019
                    CREATIVE BUSINESS & TAX SOLUTIONS, INC
                    5550 TOPANGA CANYON BLVD.,STE. 280
                    Woodland Hills, CA 91367

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Julia Wu                                                                                                             January 2019 to
                    9430 Lurline Avenue                                                                                                  November 2019
                    Chatsworth, CA 91311

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Julia Wu
                    9430 Lurline Avenue
                    Chatsworth, CA 91311

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Chandu Vanjani                                 9430 Lurline Avenue                                 Manager
                                                      Chatsworth, CA 91311




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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 Debtor      1465V Donhill Drive, LLC                                                                   Case number (if known) 1:20-bk-11138-VK



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       PACIFIC PRECISION                              9430 LURLINE AVE                                    Member                                75%
       LABORATORIES, INC.                             Chatsworth, CA 91311



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Vikas Vanjani                                  9430 Lurline Avenue                                 Manager                          11/17/2017 to
                                                      Chatsworth, CA 91311                                                                 06/15/2020


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Fill in this information to identiff the case:

 Debtor   name       1465V Donhill Drive, LLC

 United States Bankruptcy Court for         the:    CENTRAL DISTRICT OF CALIFORNIA

 Case number (if     known) 1'.20-bk-11 138-VK
                                                                                                                              EI   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                                                                  04/1 9
The debtor must answer every question. lf more space is needed, aftach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

fl[IEI        Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud         in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      1B U.S.C. SS 152, 1341, 1519, and 357'1.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the informalion is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct

 Executed    on      July 13,2020


 Signature of individual signing on behalf of the Oentor            t/
 Position or relationship to    debtor Managing Member
Are additional pages to Stafement of Financial Affairs for Non-lndividuals Filing for Bankruptcy (Official Form 207) attached?
INo
E   Yes




Official Form 207                                  Statemeni of Financial Affairs for Non-lndividuals Filing for Bankruptcy                               Page   1


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                        Lee Ziff
                        Keller Williams Realty
                        439 N Canon Drive #300
                        Beverly Hills, CA 90210
         Case 1:20-bk-11138-VK     Doc 10 Filed 07/13/20 Entered 07/13/20 17:15:18          Desc
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                                     PROOF OF SERVICE OF DOCUMENT
          1
            I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
          2 My business address is: 17609 Ventura Blvd., Suite 314, Encino, CA 91316.
          3 A true and correct copy of the foregoing document SUMMARY OF ASSETS AND
            LIABILITIES; SCHEDULES A/B, D, E/F, G, H; DECLARATION RE NON-
          4 INDIVUDUAL DEBTORS SCHEDULES; STATEMENT OF FINANCIAL
            AFFAIRS; AMENDED CREDITOR MATRIX will be served or was served (a) on the
          5 judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
            manner indicated below:
          6
            I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
          7 (“NEF”) – Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s)
            (“LBR”), the foregoing document will be served by the court via NEF and hyperlink to the
          8 document.  On 7/13/2020 I checked the CM/ECF docket for this bankruptcy case or
            adversary proceeding and determined that the following person(s) are on the Electronic
          9 Mail Notice List to receive NEF transmission at the email address(es) indicated below:
                 Service information continued on attached page
         10
               • Eric Bensamochan         eric@eblawfirm.us, G63723@notify.cincompass.com
         11    • Katherine Bunker         kate.bunker@usdoj.gov
               • Michael J Gomez         mgomez@frandzel.com,    dmoore@frandzel.com
         12
               • M. Jonathan Hayes         jhayes@rhmfirm.com,
         13        roksana@rhmfirm.com;matt@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.c
                   om;priscilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhm
         14        firm.com;david@rhmfirm.com;sloan@rhmfirm.com
         15    • United States Trustee (SV)        ustpregion16.wh.ecf@usdoj.gov

         16  II. SERVED BY U.S. MAIL: On 7/13/2020 I served the following person(s) and/or
            entity(ies) at the last known address(es) in this bankruptcy case or adversary proceeding by
         17 placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
            class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
         18 declaration that mailing to the judge will be completed no later than 24 hours after the
            document is filed.
         19      Service information continued on attached page
         20 No Judge's Copy required for documents less than 25-pages per GENERAL ORDER 20-
            04 - IN RE: PROCEDURES FOR PHASED REOPENING DURING COVID-19 PUBLIC
         21 EMERGENCY.
         22 1465V Donhill Drive, LLC
            9430 Lurline Avenue
         23 Chatsworth, CA 91311
         24 Lee Ziff
            Keller Williams Realty
         25
            439 N Canon Drive #300
         26 Beverly Hills, CA 90210
         27 III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
            TRANSMISSION OR EMAIL (indicate method for each person or entity served):
         28 Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 7/13/2020 I served the following
RESNIK HAYES
 MORADI LLP
                                                          2
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                                   Main Document    Page 25 of 25
            person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who
            consented in writing to such service method), by facsimile transmission and/or email as
          1 follows. Listing the judge here constitutes a declaration that personal delivery on the judge
            will be completed no later than 24 hours after the document is filed.
          2
                Service information continued on attached page
          3 I declare under penalty of perjury under the laws of the United States of America that the
            foregoing is true and correct.
          4
              7/13/2020 Daniel Lavian                                  /s/ Daniel Lavian
          5 Date            Type Name                                  Signature
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RESNIK HAYES
 MORADI LLP
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